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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION


DWIGHT JOHNSON,                                2:20-CV-13415-TGB-EAS

                     Plaintiff,

                                             ORDER REQUIRING DISCOV-
      vs.                                    ERY AND DENYING MOTION
                                              TO COMPEL (ECF NO. 17)
DTE ENERGY CORPORATE
SERVICES, LLC. / DTE ELEC-
TRIC COMPANY,

                     Defendant.


     Plaintiff, Dwight Johnson, by way of his attorney, moves to compel
Defendant, DTE Energy, for failure to make required disclosures pursu-

ant to Rule 26(a).
                                  I.   Background
     On October 21, 2021, Plaintiff moved to compel Defendant to dis-

close documents requested during the discovery process. ECF No. 17. On
November 5, 2021, this Court conducted a telephonic conference with the
parties to discuss Plaintiff’s motion to compel and Defendant’s oral re-

sponse. Plaintiff contends Defendant has failed to comply with its discov-
ery requests by (1) failing to answer interrogatories and (2) failing to pro-
duce documents. After allowing counsel to present their respective posi-



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tions concerning these issues, the Court specified the necessary condi-
tions for resolving the parties’ discovery disputes. Accordingly, Plaintiff’s

motion to compel will be denied as moot.
                          II.   Standard of Review
     Pursuant to Rule 37, a party may move for an order compelling dis-

closure or discovery. Prior to filing the motion, the moving party must
show a good faith effort was made “to confer with the person or party
failing to make disclosure or discovery in an effort to obtain it without

court action.” Id. “On motion to compel discovery . . . the party from whom
discovery is sought must show that the information is not reasonably ac-
cessible because of undue burden or cost.” Rule 26(b)(2)(B). The Court

may also specify conditions for the discovery. Id.
                                III. Analysis
     Here, after considering the parties’ arguments, the Court concludes

that Defendant has not shown that the discovery sought is not reasonably
accessible because of undue burden or cost. Consequently, the Court or-
ders the following conditions be met by the parties to resolve their dis-

covery dispute:
     (1)   Regarding all Plaintiff's requests for document production:
                   Defendant must respond specifically to each request and

                   as to whether it has produced the requested documents,
                   or must definitively declare that no other documents ex-
                   ist in its possession that are responsive to the requests,

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                 and will recognize its continuing obligation to comply
                 with its discovery obligations should any responsive ma-

                 terial be found.
     (2)   Regarding Plaintiff's request for production of preventative
           maintenance records:

                By November 12, 2021, Defendant must produce the
                 specified records for all 27 requested pieces of equip-
                 ment. If any of this information is unavailable, Defend-

                 ant must state so definitively and must identify the
                 equipment records that are not available.
     (3)   Regarding Plaintiff’s request that Defendant’s production

           identify the interrogatories or requests for production to
           which each document or set of documents is responsive:
                By November 19, 2021, either:

                    o Defendant will indicate in writing to Plaintiff
                       which documents respond to each discovery re-
                       quest by bates number; or, in the alternative

                    o Defendant and Plaintiff will meet in person to dis-
                       cuss and review each document Defendant has
                       produced and Defendant will identify the discov-

                       ery request(s) to which each document responds.




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     (4)   Regarding Defendant’s request for Plaintiff's production of
           newly discovered audio recordings and any related docu-

           ments:
                By November 19, 2021, Plaintiff will provide a supple-
                 mental discovery response that will include all such ma-

                 terials.
     (5)   Regarding any other present discovery conflicts:
                By November 19, 2021, all disputes should be ad-

                 dressed and resolved.
     (6)   Regarding the parties’ joint request for discovery extension:
                After Plaintiff’s and Defendant’s counsel meet and con-

                 fer and resolve the above discovery matters, the parties
                 will submit a joint stipulation requesting to extend the
                 discovery and motions deadlines by November 22,

                 2021. The Court will decide whether to extend the dis-
                 covery schedule after reviewing the proposed stipulated
                 order.




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                             IV.   Conclusion
     In view of the foregoing, the motion to compel is denied as moot.


     IT IS SO ORDERED.


Dated: November 9,          s/Terrence G. Berg
2021                        TERRENCE G. BERG
                            UNITED STATES DISTRICT JUDGE




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